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                                  UNITED STATES DISTRICT COURT
 9
                               NORTHERN DISTRICT OF CALIFORNIA
10
                                          OAKLAND DIVISION
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12   J. DOE 1, et al.,                              Case No. 4:22-cv-06823-JST
                                                    Case No. 4:22-cv-07074-JST
13                       Plaintiffs,
                                                    Hon. Jon S. Tigar
14          v.
                                                    CLASS ACTION
15   GITHUB, INC., et al.,
                                                    [PROPOSED] ORDER GRANTING
16                       Defendants.                DEFENDANTS OPENAI, INC.,
                                                    OPENAI, L.P., OPENAI OPCO, L.L.C.,
17                                                  OPENAI GP, L.L.C., OPENAI
                                                    STARTUP FUND GP I, L.L.C., OPENAI
18                                                  STARTUP FUND I, L.P., OPENAI
                                                    STARTUP FUND MANAGEMENT,
19                                                  LLC, OPENAI, L.L.C., OPENAI
                                                    GLOBAL, LLC, OAI CORPORATION,
20                                                  OPENAI HOLDINGS, LLC, OPENAI
                                                    HOLDCO, LLC, OPENAI
21                                                  INVESTMENT LLC, OPENAI
                                                    STARTUP FUND SPV I, L.P., AND
22                                                  OPENAI STARTUP FUND SPV GP I,
                                                    L.L.C.’S MOTION TO DISMISS
23                                                  SECOND AMENDED COMPLAINT
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     [PROPOSED] ORDER GRANTING OPENAI’S
     MOTION TO DISMISS
     CASE NO. 4:22-CV-0623-JST
      Case 4:22-cv-06823-JST Document 219-2 Filed 02/28/24 Page 2 of 2



 1            Having considered the papers submitted and arguments presented in support of and in
 2   opposition to Defendants OPENAI, INC., OPENAI, L.P., OPENAI OPCO, L.L.C., OPENAI GP,
 3   L.L.C., OPENAI STARTUP FUND GP I, L.L.C., OPENAI STARTUP FUND I, L.P., OPENAI
 4   STARTUP FUND MANAGEMENT, LLC, OPENAI, L.L.C., OPENAI GLOBAL, LLC, OAI
 5   CORPORATION, OPENAI HOLDINGS, LLC, OPENAI HOLDCO, LLC, OPENAI
 6   INVESTMENT LLC, OPENAI STARTUP FUND SPV I, L.P., and OPENAI STARTUP FUND
 7   SPV GP I, L.L.C. (hereinafter “OpenAI”) Motion to Dismiss, the Court finds that Plaintiffs’
 8   Second Amended Complaint fails to state a claim against OpenAI for violations of the DMCA
 9   and breach of contract. The Court hereby GRANTS OpenAI Entities’ Motion to Dismiss and
10   dismisses those claims with prejudice.
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              IT IS SO ORDERED.
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15   Dated:
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18                                                  Honorable Jon S. Tigar
                                                    United States District Court Judge
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     [PROPOSED] ORDER GRANTING OPENAI’S
     MOTION TO DISMISS                               1
     CASE NO. 4:22-CV-0623-JST
